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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION



  EDUARDO GABRIEL                           No. CV 24-00210-DOC (DFM)
  GUERRERO-MARTINEZ,
                                            Order Accepting Report and
           Petitioner,                      Recommendation of
                                            United States Magistrate Judge
              v.

  WARDEN,

           Respondent.


       Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and
 all the records and files herein, along with the Report and Recommendation of
 the assigned United States Magistrate Judge. No objections were filed, and the
 time to file objections has expired. The Court accepts the findings, conclusions,
 and recommendations of the United States Magistrate Judge.
       IT IS THEREFORE ORDERED that Judgment be entered dismissing
 the Petition without prejudice as moot and for failure to prosecute.
       As a federal prisoner proceeding under 28 U.S.C. § 2241, Petitioner is
 not required to obtain a certificate of appealability (“COA”) in order to appeal
 to the United States Court of Appeals in this case. See Harrison v. Ollison, 519
 F.3d 952, 958 (9th Cir. 2008) (holding that plain language of 28 U.S.C.
 § 2253(c)(1) does not require federal prisoners bringing § 2241 petitions to
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 obtain COA to appeal, unless § 2241 petition “is merely a ‘disguised’ § 2255
 petition”).



  Date: June 7, 2024                 ___________________________
                                     DAVID O. CARTER
                                     United States District Judge




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